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  1
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  7
      Attorneys for Plaintiff
  8
                            UNITED STATES DISTRICT COURT
  9                        CENTRAL DISTRICT OF CALIFORNIA
 10                              SOUTHERN DIVISION
 11 SERENA FLEITES,                               CASE NO. 2:21-CV-04920-CJC-ADS

 12          Plaintiff,

 13         v.
                                                  DISCOVERY DOCUMENT:
 14 MINDGEEK S.A.R.L.; MG                         REFERRED TO MAGISTRATE
                                                  JUDGE AUTUMN D. SPAETH
    FREESITES, LTD; MINDGEEK USA
 15 INCORPORATED; MG PREMIUM                      DECLARATION OF JOHN G.
 16 LTD.; MG GLOBAL                               DOYLE IN SUPPORT OF
                                                  PLAINTIFF’S SECOND MOTION
    ENTERTAINMENT INC.; 9219-1568                 TO COMPEL DEFENDANT
 17 QUEBEC, INC.; BERND BERGMAIR;                 MINDGEEK ENTITIES’
 18 FERAS ANTOON; DAVID                           RESPONSES TO PLAINTIFF’S
                                                  FIRST REQUEST FOR
    TASSILLO; COREY URMAN; VISA                   PRODUCTION OF DOCUMENTS
 19 INC.; COLBECK CAPITAL DOES 1-                 AND INTERROGATORIES
 20 5; BERGMAIR DOES 1-5                          Jurisdictional Discovery Cutoff:
 21                                               May 1, 2023
                   Defendants.
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                                                             CASE NO. 21-CV-04920-CJC-ADS
      DECLARATION OF JOHN G. DOYLE IN FURTHER SUPPORT OF PLAINTIFF’S SECOND MOTION TO
      COMPEL DEFENDANT MINDGEEK ENTITIES’ RESPONSES TO PLAINTIFF’S FIRST REQUEST FOR
      PRODUCTION OF DOCUMENTS AND INTERROGATORIES
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                                    ID #:8265


  1                      DECLARATION OF JOHN G. DOYLE
  2         I, John G. Doyle, declare as follows:
  3         1.    I am an associate with the lawfirm Brown Rudnick LLP, counsel for
  4 Plaintiff Serena Fleites in this case. I have been admitted pro hac vice in this case. I
  5 submit this declaration in further support of Plaintiff’s Second Motion to Compel the
  6 MindGeek Entity Defendants’ Responses to Plaintiff’s First Request for Production
  7 of Documents and Interrogatories (“Plaintiff’s Motion to Compel”). I have personal
  8 knowledge of the matters in this declaration.
  9         2.    On February 8, 2023, Plaintiff filed her second Motion to Compel the
 10 MindGeek Entity Defendants’ discovery responses. At the conclusion of the hearing
 11 held on March 8, 2023 concerning Plaintiff’s Motion, the Court directed the Parties
 12 to further meet and confer and to file a supplemental brief concerning any outstanding
 13 discovery issues that may remain.
 14         3.    Between March 8, 2023 and March 31, 2023, the Parties engaged in
 15 extensive meet and confer efforts. As part of those efforts Plaintiff exchanged with
 16 defense counsel iterative memoranda which captured the Parties evolving
 17 representations and disclosures. A true and correct copy of the final version of the
 18 memorandum sent to Defendants on March 31, 2023, is attached as Exhibit 15.
 19         4.    On March 16, 2023, the Parties met and conferred and had the meeting
 20 transcribed to permit the parties to fully consider and understand each other’s
 21 positions for subsequent discussions. A true and correct copy of the transcript of this
 22 meet and confer is attached as Exhibit 16.
 23         5.    A true and correct copy of excerpts from the 2017 consolidated audited
 24 financial statements for MindGeek S.a.r.l. and the 2017 audited financial statement
 25 for MG Freesites Ltd is attached as Exhibit 17. These excerpts are taken from
 26 documents which were produced by the MindGeek Entity Defendants in this action.
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                                            1                CASE NO. 21-CV-04920-CJC-ADS
      DECLARATION OF JOHN G. DOYLE IN FURTHER SUPPORT OF PLAINTIFF’S SECOND MOTION TO
      COMPEL DEFENDANT MINDGEEK ENTITIES’ RESPONSES TO PLAINTIFF’S FIRST REQUEST FOR
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                                     ID #:8266


  1          Exhibits 15, 16, and 17 are filed under seal. A motion to file these exhibits
  2 under seal is being filed contemporaneously in accorddance with Local Rule 79-
  3 5.2.2.
  4          I declare under penalty of perjury under the laws of the United States that the
  5 foregoing is true and correct.
  6          Executed this 31st day of March 2023 in Washington, D.C.
  7
                                                    By: /s/ John G. Doyle
  8                                                     John G. Doyle
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                                            2                CASE NO. 21-CV-04920-CJC-ADS
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